                                                                                                 Proposed Distribution                                                                                                            Page 1 of 1

Case Number: 8:13-83494-CRJ                                                                                                                                                                                                Date: May 3, 2021
Debtor Name: Parker, Jammie Daniell                                                                                                                                                          PROPOSED DISTRIBUTION with INTEREST



                                                                                                                                                   Proposed         Interest Paid                            Total
Claim #        Payee Name                         Class              Priority       Amount              Paid to Date       Claim Balance           Payment            To Date        Proposed Interest   Proposed Pymt     Funds Remaining

Beginning Balance                                                                                                                                                                                                                 $44,106.12

               TAZEWELL T. SHEPARD               Administrative        100               $3,906.43                $0.00            $3,906.43            $3,906.43            $0.00              $0.00          $3,906.43          $40,199.69
               303 Williams Avenue, Suite
               1411
               Huntsville, AL 35801

               TAZEWELL T. SHEPARD               Administrative        100                 $771.98                $0.00              $771.98             $771.98             $0.00              $0.00            $771.98          $39,427.71
               303 Williams Avenue, Suite
               1411
               Huntsville, AL 35801

               Flint Law Firm LLC                Administrative        100               $7,699.13            $7,699.13                $0.00                $0.00            $0.00              $0.00              $0.00          $39,427.71

               Flint Law Firm LLC                Administrative        100                 $961.39              $961.39                $0.00                $0.00            $0.00              $0.00              $0.00          $39,427.71

               Akin Mears LLP                    Administrative        100               $7,699.12            $7,699.12                $0.00                $0.00            $0.00              $0.00              $0.00          $39,427.71

               Akin Mears LLP                    Administrative        100                   $0.49                $0.49                $0.00                $0.00            $0.00              $0.00              $0.00          $39,427.71

               CLERK OF THE COURT                Administrative        100                 $260.00              $260.00                $0.00                $0.00            $0.00              $0.00              $0.00          $39,427.71
               400 Wells Street
               Decatur, Alabama 35601

               Motley Rice LLC                   Administrative        100               $5,132.75            $5,132.75                $0.00                $0.00            $0.00              $0.00              $0.00          $39,427.71

               Motley Rice LLC                   Administrative        100                  $41.00               $41.00                $0.00                $0.00            $0.00              $0.00              $0.00          $39,427.71

Subtotals for Class Administrative 100.00%                                              $26,472.29           $21,793.88            $4,678.41            $4,678.41            $0.00              $0.00          $4,678.41

1              RADIOLOGY OF                      Unsecured             300                 $984.00                $0.00              $984.00             $984.00             $0.00              $7.99            $991.99          $38,435.72
               HUNTSVILLE, PC
               C/O FOX COLLECTION
               CENTER
               PO BOX 528
               GOODLETTSVILLE, TN
               37070

               Jammie Daniell Parker             Unsecured             999              $38,435.72                $0.00           $38,435.72          $38,435.72             $0.00              $0.00         $38,435.72                $0.00
               HUNTSVILLE, AL 35803

Subtotals for Class Unsecured 100.02%                                                   $39,419.72                $0.00           $39,419.72          $39,419.72             $0.00              $7.99         $39,427.71

               Totals                                                                   $65,892.01           $21,793.88           $44,098.13          $44,098.13             $0.00              $7.99         $44,106.12                $0.00

Proposed distribution is dependent on the Court's rulings on administrative expenses, contest of claims, and/or objections made to this proposed distribution.
Interest calculated using 0.11% interest from 11/14/2013 to 03/31/2021.


                                                Case 13-83494-CRJ7 Doc 74-4 Filed 05/10/21 Entered 05/10/21 13:10:29                                                                      Desc
                                                                                                                                                                                                Date Printed5/3/2021 1:16:39 PM
                                                               Exhibit Proposed Distribution Report Page 1 of 1
